                                                                                          PROCESS RECEIPT AND RETURN
U.S. Department  of2:18-cv-00348-TJS
              Case  Justice          DocumentSee
                                              15Instructions
                                                    Filed 04/25/18
                                                             for "ServicePage  1 ofby1the U.S. Marshal"
                                                                         ofProcess
United States Marshals Service               on the reverse ofthis form.

PLAINTIF


DEFENDANT




        AT                                                                                                                                                    t9to~
---------------------------
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADD                               SS BELOW:
                                                                                                            -i Number of process to be
                                                                                                             I served with this Form - 285

                                                                                                              1
                                                                                                                Number of parties to be
                                                                                                              1 served in this case
                                                                                                              I                                           I
                                                                                                              1
               L                                                                                               Check for service
                                                                                                            _I on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses. All
Telephone Numbers, and Estimated Times Available For Service):
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                                                                                          0 DEFENDANT

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY- DO NOT WRITE BE OWT6IIS LINE
I acknowledge receipt for the total      Total Process District          District                                                                             Date
number of process indicated.                           of Origin         to Serve
(Sign only first USM 285 if more
than one USM 285 is submitted)                           No.~ No.~
I hereby certify and return that I  have personally served, 0 have legal evidence of service, 0 have executed as shown in "Remarks", the process described
on the individual, company, corporation, etc., at the address shown above or on the individual, company, corporation, etc., shown at the address inserted below.

D      I hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)

                                                                                                                                   A person of suitable age and dis-
                                                                                                                                   cretion then residing in the defendant's
                                                                                                                                   usual place of abode.
                                                                                                                                                                        am

                                                                                                                                                                        pm




PRIOR EDITIONS                                                                                                                         FORM USM-285 (Rev. 12/15/80)
MAYBE USED
                                                        1. CLERK OF THE COURT                                                               (Instructions Rev. 12/08)
